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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )       Case No. 1:21-cr-00003-RCL
                                          )
JACOB ANTHONY CHANSLEY,                   )
                                          )
        Defendant.                        )


 DEFENDANT’S REPLY TO SUPPLEMENT TO GOVERNMENT’S OPPOSITION TO
        DEFENDANT’S MOTION TO REOPEN DETENTION HEARING

        Comes now Defendant, Jacob A. Chansley, by and through his undersigned

counsel, and for his Reply to Supplement to Government’s Opposition to Defendant’s

Motion to Reopen Detention Hearing, states to the Court as follows:

     1. The Government incorporated by reference into its Supplemental Brief two

exhibits, being a copy of the Arizona Magistrate’s Order of Detention Pending Trial filed

with the Court on January 19, 2021 and a copy of the Pretrial Services Report dated

January 11, 2021. Both exhibits contain representations the Government now knows to

be false and should have known to be false at the time they were made. The

Government knows the findings in Ex. 2 misstated facts and truth in the shadow of the

events of January 6. The Government knows the initial Order of Detention reflected in

Exhibit 1 was based on Governmental assertions which are now recognized to be a

boilerplate series of characterizations selected from cafeteria style menu of assertions

designed to fit the bill in detention hearings conducted in the wake of January 6.

     2. The Court, the Defendant and indeed the public have a right to rely on the

truthfulness of representations made on behalf of the Government by and through its



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Department of Justice. This is a burden heretofore proudly worn by the U.S. Department

of Justice as a deserved badge of honor. The badge has been and continues to be

soiled

   3. The Government is representing to this Court the Defendant is regular drug user

and cites the Court to the Government’s Ex. 2 (Pretrial Services Report) to support this

proposition. The Pretrial Services Report does not say anywhere that the Defendant is a

“regular drug user.” Rather, it says the Defendant “has not consumed alcohol since

2012” and, other than marijuana, “has never tried any other illicit substance in the past

and has never participated in any treatment.”

   4. The Government is representing to this Court the Defendant has no stable job to

tie him to the [Phoenix] community and instead, “sporadically earns money” by

appearing at protests and rallies to lead QAnon followers. The Defendant is in jail. Of

course he does not have a job. Prior to being detained, the Defendant held positions of

employment for years in Phoenix helping special needs kids, creating and selling art,

writing, publishing and selling books, and giving Shamanic advice, teaching Ahimsa (the

principle of doing no harm) and receiving donations from recipients of his advice. The

Defendant is not and has never been a leader of QAnon followers, or anyone for that

matter. He is a Shaman, given the prefix “Q” by others and assumed in good humor by

the Defendant. The Government has had unlimited access to the Defendant, access

voluntarily given by the Defendant without condition or promises of favorable treatment.

The Government has taken advantage of that access. The Government has cross

referenced the Defendant’s responses to countless inquiries propounded about a wide

range of subject matter, including all of that which is raised by the Government in its




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Supplemental Brief. The Government knows the Defendant was truthful about his

Shamanic faith, his commitment to Ahimsa and his love of country. The Defendant was

anything but a leader of QAnon, or anything for that matter. The Defendant is a sweet,

gentle, well spoken, smart man whose longstanding commitment to all that is peace and

non-violence is second in duration only to his recognized mental vulnerabilities.

   5. The Government is representing to this Court that the Pretrial Services Report

(cited apparently because there is nothing else for the Government to cite) asserted the

Defendant planned on “activating a website to sell Shamanic services.” The only

appropriate response to the raising of this point by the Government is, “So what?”

Perhaps if the Defendant was Catholic and planned to activate a website to extol the

virtues of drinking the blood or eating the body of Christ this would be germane to

issues relating to detention. The Government has known since the time of the

Defendant’s peaceful self-surrender that he is not and has not been a member of an

extremist group or possessing extremist ideology. The Government has known since

that time that each and every major social media platform, including Facebook,

YouTube, and Instagram, took down Defendant’s accounts.

   6. The Government previously asserted to the Court that the Defendant had

expressed that he planned to attend the inauguration of President Biden, a prospect

which weighed heavily in favor of the Magistrate Court’s Detention Order. In discovery

filed by the Government herein, it is clear the Government misrepresented the words of

the Defendant in an attempt to make the square peg fit a round hole. In truth, the

Government’s own Form 302 clearly states that Defendant, during his first voluntary

telephone contact with the FBI during his travels back from Washington DC to Phoenix




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on January 8, 2020, confirmed that while he would “like to return for the Presidential

Inauguration [he] did not have the means to do so.”

   7. The Government is representing to this Court, the Defendant and the public that

the Defendant’s flight risk is “deepened” by “fund raising” and “off-the-grid travel”

opportunities, suggesting further the Defendant has the ability to “quickly raise large

sums of money for travel through non-traditional sources as one of the prominent

figures of QAnon.” This is the same Defendant the Government says “sporadically

earns money.” This is the same Defendant the Government knows (through its own

Form 302) drove in a conventional car to and from the Capitol on a shoestring budget.

This is the same Defendant who the Government knows was absolutely on the grid

such as to voluntarily call the FBI virtually the minute he found out the FBI wanted to

speak with him. This is the same Defendant who has no passport, lived in Phoenix all of

his life, and has never traveled internationally except as ordered by the military. The

Government learned directly from the Defendant details relating to the Defendant’s

procurement of the $500 needed to travel to and from the Capitol per what the

Defendant understood to be the request of then President Trump.

   8. The Government appears to be representing to the Court that because the

Defendant twice drove to and from the Capitol for the Million MAGA March in December

2020 and for January 6, 2021 that the Defendant is “concerning” to the Government.

The Government knows better. They know better because the Government debriefed

the Defendant and this was a topic of inquiry. The responses of the Defendant were

vetted, verified, and confirmed. The Government is concerned about the Defendant

expending “hundreds of dollars” for trips to D.C. and back to Arizona? This is a concern




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for the Government? Nothing more needs to be said to demonstrate more succinctly the

wholesale failure of this argument.

   9. The Government flails further. It asserts the Defendant is a flight risk because he

has no ties to the prosecuting jurisdiction. Virtually none of the four hundred plus

January 6, 2021 Defendants have ties to the prosecuting jurisdiction. Virtually all, save

the Defendant and a handful of others, have been released, many on their own

recognizance.

  10. In an unattractive display of regional bias, the Government cites the fact that

Arizona borders Mexico as somehow relevant to the present issue at hand. With a tip of

the hat to the gregarious nature of the Government for not taking this argument further,

the Government simply cites but does not argue the relevance of the fact that Arizona

“touches an international border.” Careful scrutiny of all publicly available pleadings filed

on behalf of the Government in January 6 cases involving criminally accused from

states “[touching] upon an international border” does not yield a single added case in

which this implied argument is noted…for good reason.

  11. The Government concludes its rampage of meritless risk indicia by impugning a

mother for supporting her son. Someone smart once said, in essence if not verbatim,

“don’t get between a mom and her kid” (cite unknown).

  12. The Government alludes to the Defendant’s mother buying into what the

Government describes as a “false narrative” that the Defendant “walked through open

doors.” The Government’s allusion to a “false narrative” is a knowingly false assertion.

The Government has not produced one image or one video segment of any length

depicting the Defendant breaking through barricades or crashing through police lines or




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forcing his way through closed doors. The Government has produced images of the

Defendant walking through open doors into the Capitol. The Government has produced

images of the Defendant walking through doors held open for him by law enforcement.

The Defendant, by and through his counsel, has produced to the Government videos

depicting the Defendant attempting to recover stolen protective equipment for law

enforcement (the Government asked Defendant about this); the Defendant attempting

to thwart a theft from a breakroom in the Capitol; the Defendant extoling everyone to be

respectful and peaceful; the Defendant saying a prayer; the Defendant permitting selfies

to be taken of him outside the Capitol while hundreds walk by and into the Capitol; the

Defendant helping law enforcement clear out the Capitol after then President Trump

finally publicly requested everyone to go home.

  13. The Defendant’s mother gave birth to the Defendant, raised the Defendant,

provided for the Defendant, and loves the Defendant. She supports her son’s faith and

supports his love of his country. She raised a smart boy, a nice and gentle boy, who has

endured overwhelming hardships and vulnerabilities, both known and unknown to this

Court. Both Defendant and his mother describe themselves as conservatives, lovers of

their country. The Defendant’s mother garnered interest in her first national election by

virtue of her active support of then President Reagan’s re-election campaign leading up

to the 1982 national election. No Pretrial Services study has been conducted. The

Government instead resorts to mother-bashing. Enough.

  14. The “needle” referenced by the Government in its Supplemental Brief has been

erroneously pointed as a function of affirmative and knowing misrepresentations to the




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Court, the Defendant and the public by the Government. This is as unbecoming as it is

unprecedented in the otherwise stellar annals of the Department of Justice.

   15. For better or for worse, the images of the Defendant on January 6 have collectively

become the de facto service mark for January 6, akin to the Nike Swoosh…inextricably and in

perpetuity linked to an event which will become known not as a day of infamy, but as a day on

which our nation was compelled to commence bellying up to the bar to acknowledge each of our

roles in permitting, fostering, tolerating, endorsing or ignoring without action an ever increasing

barrage of divisiveness, intolerance, untruths, misrepresentations, and mischaracterizations

through an unrelenting multi-year propaganda odyssey. Adorned in his costume, depicted in a

mug shot devoid of his red, white and blue paint, Jacob A. Chansley is now a public figure, both

reviled and glorified by both sides of the great political divide.

   16. And all the while, the Defendant struggles to cling on to and salvage his mental

health; remain disciplined in solitary confinement; continue to reconcile his role in his

current lot in life, and endure the indefinite temporal nature of that lot. In response, the

Government continues with an optic driven posture in the present case which, truth be

told, agitates the experienced “boots-on-the-ground” Assistant United States Attorneys

whose authority to negotiate plea deals and dispositions in cases with which they have

experienced and intimidate familiarity has been usurped by those higher up the chain of

DOJ command who seek to control the optics. In response, the Court, the Defendant

and the public are compelled to fight back the horror associated with being first-hand

witnesses to a wholesale departure from that which has been the envy of the

world…”and justice for all.”

    17. If this was a civil case, all eight of the elements comprising an oft used common

law theory of civil liability would be present.



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  18. The Defendant should be released pending trial.

                                   KODNER WATKINS


                                    By:___/s/ Albert S. Watkins________________
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                              CERTIFICATE OF SERVICE

      Signature above is also certification that on June 22, 2021, a true and correct
copy of the foregoing was electronically filed with the Clerk of the Court utilizing the
CM/ECF system which will send notification of such filing to all parties of record.




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